 Case 2:12-cr-20066-KHV          Document 1937         Filed 04/04/16     Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                       CRIMINAL ACTION
v.                                  )
                                    )                       No. 12-20066-31-KHV
JULIUS SMITH,                       )
                                    )
                  Defendant.        )
____________________________________)

                               MEMORANDUM AND ORDER

       On March 31, 2014, the Court sentenced defendant to 180 months in prison.               On

December 9, 2015, the Court overruled defendant’s pro se motion to reduce sentence under

Amendment 782 to the United States Sentencing Guidelines and 18 U.S.C. § 3582(c)(2). See

Memorandum And Order (Doc. #1881). This matter is before the Court on defendant’s Motion To

Seal Memorandum And Order (Doc. #1935) filed March 17, 2016. For reasons stated below, the

Court overrules defendant’s motion.

       Federal courts have long recognized a common-law right of access to judicial records.

United States v. Apperson, No. 14-3069, 2016 WL 898885, at *6 (10th Cir. Mar. 9, 2016) (citing

Mann v. Boatright, 477 F.3d 1140, 1149 (10th Cir. 2007)). This right stems from the public’s

fundamental interest in understanding disputes that are presented to a public forum for resolution.

See Nixon v. Warner Commc’ns, 435 U.S. 589, 599 (1978); Crystal Grower’s Corp. v. Dobbins, 616

F.2d 458, 461 (10th Cir. 1980). The public interest in district court proceedings includes the

assurance that courts are run fairly and that judges are honest. Crystal Grower’s, 616 F.2d at 461-

62. In determining whether documents should be sealed, the Court weighs the public interest, which

it presumes is paramount, against the interests advanced by the parties. Helm v. Kansas, 656 F.3d
  Case 2:12-cr-20066-KHV           Document 1937         Filed 04/04/16      Page 2 of 3




1277, 1292 (10th Cir. 2011); Crystal Grower’s, 616 F.2d at 461. The party seeking to overcome the

presumption of public access must show that interests which favor non-disclosure outweigh the

public interest in access to court proceedings and documents. See Apperson, 2016 WL 898885, at

*6; Colony Ins. Co. v. Burke, 698 F.3d 1222, 1241 (10th Cir. 2012). The parties must articulate a

real and substantial interest that justifies depriving the public of access to the records that inform

the Court’s decision-making process. Colony Ins., 698 F.3d at 1241; see Gulf Oil Co. v. Bernard,

452 U.S. 89, 102 n.16 (1981) (moving party must submit particular and specific facts, not merely

“stereotyped and conclusory statements”).

       Defendant asks the Court to seal the Memorandum And Order (Doc. #1881) because the

order “refers to information contained in sealed documents” and the Tenth Circuit has sealed the

record on appeal.1 Motion To Seal Memorandum And Order (Doc. #1935) at 1. Defendant does

not specifically explain how his interest in non-disclosure of the information outweighs the public

interest in open courts. See Apperson, 2016 WL 898885, at *7 (court cannot justify denying

disclosure by endorsing generalized interests regarding confidentiality and potential “chilling effect”

in future cases); Colony Ins., 698 F.3d at 1242 (denying motions to seal where parties did not submit

specific argument or facts indicating why confidentiality of settlement agreements outweighs

presumption of public access). In addition, defendant does not explain how sealing the order at this

time protects any such interest. The order has been a matter of public record for some three months

and it is readily available at on-line legal research sites. On the present record, the Court overrules

defendant’s motion to seal.



       1
               Defendant notes that the panel assigned to hear the appeal will decide whether to seal
the appellate opinion.

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 Case 2:12-cr-20066-KHV        Document 1937        Filed 04/04/16        Page 3 of 3




      IT IS THEREFORE ORDERED that defendant’s Motion To Seal Memorandum And

Order (Doc. #1935) filed March 17, 2016 be and hereby is OVERRULED.

      Dated this 4th day of April, 2016 at Kansas City, Kansas.

                                           s/ Kathryn H. Vratil
                                           KATHRYN H. VRATIL
                                           United States District Judge




                                             -3-
